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     A Professional Law Corporation
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     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     SALVADOR REYES-SARAVIA
6
7                                    IN THE UNITED STATES DISTRICT COURT
8                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,                             )   No. 2:10-cr-00304-MCE
                                                           )
12                            Plaintiff,                   )
                                                           )   STIPULATION AND ORDER RESETTING
13           v.                                            )   BRIEFING SCHEDULE AND J&S DATE
                                                           )
14   SALVADOR REYES-SARAVIA,                               )
                   Defendant.                              )
15                                                         )
     _______________________________                       )
16                                                         )
17           IT IS HEREBY STIPULATED by and between Assistant United States Attorney Michael
18   Beckwith, Counsel for Plaintiff, and Attorney Dina L. Santos, Counsel for Defendant Salvador Reyes-
19   Saravia, and U.S. Probation, that the briefing schedule be re-set as follows:
20
21           Judgment and Sentencing Date:                                   06/07/2012 @ 9:00 a.m.

22           Reply, or Statement of Non-Opposition:                          5/31/2012

23           Motion for Correction of the Presentence Report shall be filed with the Court and served on the Probation

24           Officer and opposing counsel no later than:                     5/24/12

25           Presentence Report filed with Court/disclosed to counsel by:    5/17/12

26   Counsel's written objections to the Presentence Report shall be delivered to the Probation Officer and opposing

27   counsel no later than:                                                  5/10/2012

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1          IT IS SO STIPULATED.
2
3    Dated: May 7, 2012                      /S/ Dina L. Santos
                                             DINA L. SANTOS
4                                            Attorney for
                                             Salvador Reyes-Saravia
5
6    Dated: May 7, 2012                      /S/ Michael Beckwith
                                             MICHAEL BECKWITH
7                                            Assistant United States Attorney
                                             Attorney for Plaintiff
8
9
10                                        ORDER
11         IT IS SO ORDERED.
12                        By the Court,
13
14
      Dated: May 9, 2012
15
16                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
17
                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order                    2
